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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

               Plaintiffs,


      v.                                Case No. 24-CV-3220 (DLF)


DOROTHY FINK, et al.,

              Defendants.


                       MEMORANDUM IN SUPPORT OF
              ELI LILLY AND COMPANY’S AND LILLY USA, LLC’S
                     MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       The federal 340B drug-pricing program is broken. This case is about Lilly’s lawful attempt

to fix it, and the federal government’s unlawful and irrational attempt to stop Lilly.

       The 340B statute requires Lilly to sell its medicines at significantly reduced prices to cer-

tain healthcare providers. At issue is how Lilly makes the 340B price available. The statute ex-

pressly authorizes either up-front “discounts” or back-end “rebates.” 42 U.S.C. § 256b(a)(1). The

government has never mandated either option, and what’s predominantly used today is a system

of in-kind rebates. That system is opaque, enables widespread abuse, results in frequent errors,

and makes it difficult, if not impossible, to comply with federal law. To solve these problems,

Lilly decided to offer the 340B price by paying cash rebates instead. But the government unlaw-

fully shut Lilly down before it could start—and without ever explaining why.

       Not all healthcare providers are eligible for 340B pricing. Only certain providers called

“covered entities” can buy at the 340B price, but today nearly 60% of all hospitals are in the pro-

gram. These covered entities need not pass on the 340B price to patients. That creates an arbitrage

opportunity: covered entities can buy medicines at vastly reduced prices and sell them for much

more to patients and their insurers, including Medicare and Medicaid. And that opportunity has

not escaped notice: Exploiting this “spread” can be so lucrative that an entire cottage industry of

for-profit 340B middlemen has emerged to partner with covered entities in pursuit of those profits.

       Congress recognized the 340B program’s potential for abuse, so it enacted several statutory

guardrails. Two are especially important here: Covered entities are supposed to dispense 340B-

priced medicines only to their patients; that is, they cannot “divert” it to non-patients or for-profit

partners. And covered entities cannot seek reimbursement from Medicaid for 340B-priced medi-

cines that are subject to Medicaid rebates, which protects manufacturers from giving two manda-

tory price reductions for the same prescription.


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       To comply with these restrictions, covered entities initially had separate inventories—one

for 340B-priced medicines and another for market-priced medicine. But that system proved in-

convenient because it required identifying patients and their insurers when prescriptions are filled.

To avoid those burdens, covered entities developed a system of in-kind rebates called a “product

replenishment model.” That system is nothing more than an elaborate shell game: Covered enti-

ties and their for-profit vendors first buy medicine at market prices and dispense it to anyone who

shows up at the pharmacy counter. Later, third-party administrators use proprietary algorithms to

retroactively identify dispenses to a 340B patient. Based on these identifications, they “replenish”

their inventory at 340B prices, which they again proceed to dispense to anyone with a prescription.

And then the cycle starts anew. The entire process takes place behind closed doors; the details of

what purportedly triggered the 340B price, who is an eligible “patient,” what happens to the “re-

plenishment medicine,” and who reaps the “spread” between the market price and the 340B price

are unknown.

       The result is as predictable as it is damaging: a system primed for fraud, waste, and abuse.

The Government Accountability Office has noted, for more than a decade, that the current system

results in unchecked—and illegal—duplicate discounts. And it has noted that the government

agency tasked with overseeing the 340B program, the Health Resources and Services Administra-

tion (HRSA), has no interest in detecting or stopping illegal duplicates. Some estimate that illegal

duplicates total more than $2 billion annually—and growing by more than 20% every year.

       The way to prevent these unlawful duplicates is transparency. Lilly has contracted with

Kalderos, a healthcare technology company, to provide the 340B price via a cash rebate—i.e., by

replenishing cash instead of product. Covered entities would continue to buy their medicines at

market prices—just as they do now—and then electronically submit a claim through Kalderos’s




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system whenever a prescription is identified as 340B-eligible. Lilly would swiftly pay covered

entities cash rebates to effectuate the 340B price, by direct deposit every week. That’s it. That

process would ensure all relevant parties, including Lilly, have the data they need to comply with

federal law and resolve disputes if necessary. The transparency created by this data parity will

help restore the integrity that the 340B program has now lacked for many years, fully realizing

Congress’s design.

       Rather than embrace this 340B program improvement, HRSA has done everything it can

to stop it. In a first for the 30-year-old program, the agency told Lilly that it must get preapproval

for its cash-replenishment program—even though some covered entities already receive 340B

prices via a cash rebate. And instead of providing that preapproval, HRSA threatened any manu-

facturer that begins paying cash rebates with the most dire punishment it can impose: removal

from Medicaid and Medicare Part B, which would make Lilly’s medicines unavailable for the

country’s most vulnerable patients. No manufacturer can rationally risk that outcome, so the status

quo and all its drawbacks remain.

       HRSA’s decision is unlawful for at least two reasons. First, the 340B statute does not give

HRSA (and it has never asserted) ad hoc preapproval power over the method for effectuating the

340B price. HRSA’s role is to implement the 340B statute by signing agreements with manufac-

turers. HRSA’s agreement with Lilly neither forbids the use of cash rebates nor requires Lilly to

secure the agency’s preapproval before doing so. And, as HRSA has previously acknowledged,

the 340B statute expressly recognizes rebates as a valid method of providing the 340B price.

       Second, HRSA’s decision is arbitrary and capricious because it is neither reasonable nor

reasonably explained. Although Lilly thoroughly explained to HRSA why its proposal complies

with both the 340B statute and Lilly’s PPA, while also addressing known program-integrity




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concerns, HRSA rejected Lilly’s proposal in a short, unreasoned letter. HRSA did not explain

why it thinks Lilly’s proposal is meaningfully different from the way manufacturers currently offer

the 340B price—or from the cash-rebate systems that already exist for some covered entities. Nor

could HRSA have done so if it had tried.

          For each of these independent reasons, the Court should grant Lilly’s motion for summary

judgment.

                                    STATEMENT OF FACTS

I.        THE FEDERAL 340B PROGRAM

          Before the 340B program, manufacturers voluntarily sold reduced-price medicines to the

Department of Veterans Affairs and charitable hospitals. Milt Freudenheim, Big Costs Imposed

on Drug Makers, N.Y. Times, Nov. 6, 1990, at D2, https://tinyurl.com/368umt5y. But when Con-

gress enacted the federal Medicaid Drug Rebate Program in 1990, it inadvertently interfered with

that practice. See H.R. Rep. No. 102-384(II), *9–10 (1992). The Medicaid Drug Rebate Program

requires manufacturers to offer Medicaid discounts that match the lowest price they offer to other

buyers—meaning that if a manufacturer were to continue to sell discounted medicines to the VA

and those charitable hospitals, it could drastically increase the rebates owed to Medicaid. The

Medicaid Drug Rebate Program thus disincentivized manufacturers from continuing to offer re-

duced-price medicines to entities serving under-resourced populations.

          Congress sought to remedy that disincentive with the 340B program. Congress created the

340B program under the Veterans Health Care Act of 1992, codified as Section 340B of the Public

Health Service Act, see 42 U.S.C. § 256b.1 The program conditions federal coverage under Med-

icaid and Medicare Part B on the HHS Secretary’s “enter[ing] into an agreement with [the]


1
     See also Pub. L. No. 102-585, § 602(a), 106 Stat. 4943, 4967 (1992).



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manufacturer.” 42 U.S.C. § 256b(a)(1). Such an agreement, known as a Pharmaceutical Pricing

Agreement, or PPA, “incorporate[s] the statutory obligations and record[s] the manufacturers’

agreement to abide by them.” Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 117–18

(2011).

          Under the 340B program, manufacturers must offer their medicines at bargain-bin prices

to certain healthcare providers called covered entities. 42 U.S.C. § 256b(a)(1); see also id.

§ 256b(a)(4) (listing types of providers that can qualify as a covered entity). 340B ceiling prices

represent “substantial discounts” from prevailing commercial rates. Medicare Payment Advisory

Commission, Report to the Congress: Overview of the 340B Drug Pricing Program 6–7 (May

2015) (emphasis omitted), available at https://tinyurl.com/bdce5cbc. When Congress created the

340B program, there were only about 1,000 covered entities. Ryan P. Knox et al., Outcomes of

the 340B Drug Pricing Program: a Scoping Review, 4(11):e233716 JAMA Health F., at 4 (Nov.

2023), available at https://pmc.ncbi.nlm.nih.gov/articles/PMC10665972/. By 2015, that figure

swelled to include “more than 40% of US hospitals,” see id., and some analysts now place that

estimate at roughly two-thirds of all U.S. hospitals.2

          The 340B statute gives latitude in how to offer the required prices. It does so by requiring

manufacturers to “enter into an agreement” (the PPA) “under which the amount required to be paid

(taking into account any rebate or discount, as provided by the Secretary), to the manufacturer for

covered outpatient drugs . . . does not exceed” the ceiling price. 42 U.S.C. § 256b(a)(1). The

statute thereby authorizes 340B prices to be offered by either a front-end “discount” or a back-end

“rebate.” Lilly’s PPA, for its part, makes no mention of “rebate[s] or discount[s]”; it states that


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  E.g., Nicole Longo, Pharm. Rsch. & Mfrs. of Am., By the Numbers: 340B Continues to Climb
in Profits, Dwindle with Patient Support (Sept. 13, 2023), available at https://ti-
nyurl.com/24jddrdx.



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the “[m]anufacturer shall offer each covered entity covered outpatient drugs for purchase at or

below the applicable ceiling price.” AR 47.3

       Given the significantly reduced prices available to covered entities under the 340B pro-

gram, the 340B statute also carefully limits manufacturers’ obligations: A manufacturer satisfies

its “shall offer” requirement so long as it makes a “bona fide” offer to sell its medicines to covered

entities at or below the ceiling price. This means in turn that a manufacturer may attach reasonable

conditions to its offer, including those concerning data reporting. See, e.g., Novartis Pharms.

Corp. v. Johnson, 102 F.4th 452, 459–61 (D.C. Cir. 2024) (rejecting HRSA’s attempt to stop man-

ufacturers from placing “reasonable conditions” on delivery); see also Sanofi Aventis U.S. LLC v.

HHS, 58 F.4th 696, 701, 706 (3d Cir. 2023) (affirming a manufacturer requirement that covered

entities provide claims data).

       Congress also created statutory guardrails to help “assure the integrity of the drug price

limitation program.” H.R. Rep. No. 102-384(II), *9–10 (1992). To that end, the 340B statute

limits 340B pricing in two important respects. First, covered entities may not request payment

from a state Medicaid program for 340B-priced medicines that manufacturers also pay a Medicaid

rebate on. See 42 U.S.C.§ 256b(a)(5)(A). Second, covered entities may not dispense 340B-priced

medicines to individuals who are not their patients. Id. § 256b(a)(5)(B). These anti-duplication

and anti-diversion provisions are critical to ensuring that the 340B program hews to its purpose.

       Thus, the 340B statute includes procedures intended to help police unlawful duplication

and diversion. Manufacturers may audit a covered entity’s records that “directly pertain to the

entity’s compliance” with those prohibitions. 42 U.S.C. § 256b(a)(5)(C). And to resolve any



3
  The relevant language in Lilly’s PPA and PPA addendum match the language included in the
form agreements in the administrative record. See AR 36–47.



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disputed claims, Congress directed the HHS Secretary to create an Administrative Dispute Reso-

lution (ADR) mechanism. 42 U.S.C. § 256b(d)(3)(A). The Secretary has done so, see 340B Drug

Pricing Program, 89 Fed. Reg. 28,643 (Apr. 19, 2024), but a manufacturer must complete an audit

before it can initiate an ADR proceeding, 42 C.F.R. § 10.21(a)(2).

       HRSA, however, has locked manufacturers’ access to audits behind a requirement not

found in the statute. HRSA requires manufacturers to first show “reasonable cause” for initiating

an audit. Manufacturer Audit Guidelines and Dispute Resolution Process, 61 Fed. Reg. 65,406,

65,410 (Dec. 12, 1996). To do that, HRSA demands “sufficient facts and evidence in support of

the belief” that “a violation of [the prohibitions on duplication or diversion] has occurred.” See id.

So if a manufacturer lacks hard evidence that a covered entity has duplicated discounts or diverted

340B product, HRSA’s procedures put it in a catch-22: To get such evidence, the manufacturer

must begin an audit, but it cannot begin an audit until it has the evidence.4

II.    THE PROBLEM: THE PRODUCT-REPLENISHMENT MODEL

       In recent years, covered entities have unilaterally imposed an opaque method for effectu-

ating 340B prices, often called the “product-replenishment model.” As described in more detail

below, covered entities pay the market price for medicine up front, then later “replenish” that

product at the 340B price after identifying—through post hoc data mining—prior prescriptions as

having been dispensed to 340B patients. See ECF No. 1-2 (Pedley Decl.) ¶¶ 3, 5. Those providers

and their vendors freely commingle 340B inventory and non-340B inventory, see id. ¶ 11, effec-

tively concealing which inventory is subject to the 340B statute's anti-duplication and anti-diver-

sion provisions, and inevitably causing violations of these two statutory prohibitions.



4
  Lilly reserves all rights to challenge this HRSA requirement as arbitrary, capricious, contrary to
law, and in excess of statutory authority. But such a challenge is outside the scope of this case.



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       A.      Creation of the Product-Replenishment Model

       That has not always been so. At the 340B program’s outset, most covered entities used a

physical-inventory model. Under that model, covered entities physically segregated 340B-priced

medicines from commercial priced medicines, and determined whether a prescription was 340B-

eligible before it was dispensed. See 340B Health, Key Terms (defining “Physically Separate In-

ventory”), available at https://tinyurl.com/49fh5prc; HHS Office of Inspector General (OIG),

Contract Pharmacy Arrangements in the 340B Program 5 (Feb. 4, 2014) (Contract Pharmacy Ar-

rangements), available at https://tinyurl.com/2nmdrcey. If a prescription met the criteria to be

filled with 340B priced-medicines, the provider dispensed from its 340B-priced inventory; if not,

the provider dispensed commercially purchased medicine. That segregated-inventory system of-

fered all parties some confidence that 340B-priced medicine would be dispensed consistent with

the 340B statute’s prohibitions on diversion and duplicate discounts.

       Physically segregating inventory required forethought and attention to each medicine dis-

pensed, however.     So the more convenient—and more manipulable—product-replenishment

model cropped up in its place. The product-replenishment model rests on an elaborate accounting

fiction: (1) a “full package” of medicine is purchased at market price; (2) that medicine is dis-

pensed, often in smaller quantities; (3) sometime later, the covered entity and its revenue-seeking

partners assess whether prescriptions were 340B-eligible; (4) after purporting to fill enough eligi-

ble prescriptions to equal a full package, a “replenishment” package is purchased at the 340B price;

(5) the 340B-priced replenishment package is placed in general inventory; (6) that replenishment

medicine is dispensed—regardless of whether the person filling the prescription is a patient of the

covered entity; and (7) the cycle begins anew. See generally ECF No. 1-2 (Pedley Decl.) ¶¶ 3–11.

       A defining characteristic of that accounting fiction is that covered entities neither determine

whether medicine is 340B-eligible before dispensing it nor establish which package of medicine


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is “340B” for purposes of the covered entity’s compliance obligations. Regardless of whether a

package of medicine is purchased at a 340B or non-340B price, it is placed in “neutral inventory,”

where units from that package may be dispensed regardless of whether a prescription is 340B-

eligible. ECF No. 1-2 (Pedley Decl.) ¶¶ 5, 8, 11. Only after those units are dispensed do covered

entities or their vendors “attempt to discern” whether individual prescriptions were actually filled

by 340B patients. Novartis Pharms. Corp., 102 F.4th at 457. Thus, one package of medicine may

be treated as commercial for dispensing purposes, but as 340B-eligible for pricing purposes.

       That system facilitates straightforward violations of the 340B statute’s duplication and di-

version prohibitions by treating a medicine’s 340B status as transferrable and divorced from the

price at which is it sold. Medicine starts out the journey as commercial (freeing it to be dispensed

to anyone), is next retroactively declared 340B (to generate a replenishment claim), that 340B

status is then transferred from the dispensed medicine to the replenishment medicine (so that the

latter can be purchased at the 340B price), but the covered entity then deems that replenishment

medicine commercial so that it can be dispensed to anyone. That constant yo-yoing of 340B status

nullifies the statute’s duplication and diversion prohibitions. Under the product-replenishment

regime, covered entities necessarily purchase medicine at a 340B price and then “resell or other-

wise transfer the drug” to non-340B-eligible individuals. 42 U.S.C. § 256b(a)(5)(B). And the

shifting nature of which packages are “340B” makes tracking the duplication provision virtually

impossible. See Kalderos, 2022 Annual Report: Conquering the “Great Unknown” 24–26 (2022),

available at https://tinyurl.com/45tv6bw6.

       Nevertheless, HHS has acceded to the product-replenishment model’s widespread adop-

tion, characterizing the model as simple “inventory-accounting.” HHS Off. Of the Gen. Couns.,

Advisory Opinion 20-06 on Contract Pharmacies Under the 340B Program 6 & n.6 (Dec. 30,




                                                 9
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2020) (Contract Pharmacies Opinion), available at https://perma.cc/L7W2-H597. Notably, HRSA

never purported to preapprove the product-replenishment model’s use, even though it is a system

of in-kind rebates. Nor did HRSA study its pitfalls, get input from stakeholders, or formally man-

date its use. Covered entities simply created it without agency preapproval—or manufacturer con-

sent, for that matter.

        B.      Third-Parties’ Involvement in the Product-Replenishment Model

        Sophisticated software is needed to sustain the accounting fiction that props up the product-

replenishment model. When covered entities dispense prescriptions in-house, they use such soft-

ware themselves. That software collects data about each prescription filled from so-called “neu-

tral” inventory. It then “uses logic based on configurations, chosen by the entity, to separate 340B

from non-340B transactions after they occur.” Apexus, 340B Split-Billing Software Key Attributes

(Jan. 17, 2023), available at https://tinyurl.com/2wb589up. When a covered entity has filled a full

package’s worth of prescriptions to 340B-eligible patients, the software helps the provider place

replenishment orders at 340B prices.

        Not all covered entities dispense covered outpatient medicines in-house. HRSA has per-

mitted covered entities to use “contract pharmacies”: for-profit commercial pharmacies that “dis-

pens[e] 340B-purchased drugs on behalf of a covered entity” in exchange for a cut of the arbitrage

profits. Contract Pharmacy Arrangements at 4. For-profit contract pharmacies administer the

product-replenishment model in much the same way as covered entities. Contract pharmacies

deploy software that “compares the information about the dispense with eligibility criteria pro-

vided from the covered entity, in order to determine if the patient was eligible for 340B product.”

ECF No. 1-2 (Pedley Decl.) ¶ 6. Then, the software “notifies the covered entity that it may place

a replenishment order for the drug in question” using a covered entity’s 340B purchasing account

with the relevant wholesaler of the pharmaceutical manufacturer. Id. ¶ 7.


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       Some covered entities and pharmacies also bring in for-profit third-party administrators to

manage the product-replenishment model. Those administrators, too, are in it for the money. As

the D.C. Circuit has explained, third-party administrators “often receive a larger fee for every pre-

scription deemed eligible for the discount.” Novartis Pharms. Corp., 102 F.4th at 457. For that

reason, covered entities, contract pharmacies, and third-party administrators alike have “a financial

incentive to catalog as many prescriptions as possible as eligible.” Id. at 457–58. Once they have

done so, they all “divvy up the spread between the discounted price and the higher insurance re-

imbursement rate.” Id. at 457.

       The methods by which covered entities, pharmacies, and administrators retrospectively

“catalog” those 340B-eligible prescriptions, id., are shrouded in secrecy. Contract pharmacies and

third-party administrators use black-box algorithms to determine which prior dispenses may have

been 340B-eligible. And third-party administrators market their prowess in identifying as many

supposedly 340B-eligible transactions as possible. To “maximize the revenue generated” from

340B prices, third-party administrators review dispense data and harvest 340B claims, often weeks

or months after a prescription was filled. See Aaron Vandervelde et al., Berkely Rsch. Grp., For-

Profit Pharmacy Participation in the 340B Program 5 (Oct. 2020), available at https://ti-

nyurl.com/mrxxr4rn. The proprietary algorithms used to perform that task run various profitability

scenarios to reveal the most desirable, allowing “for-profit pharmacies to influence which pre-

scriptions are classified as 340B.” Id. at 8; see also Neal Masia, Ph.D., Alliance for Integrity &

Reform, 340B Drug Pricing Program: Analysis Reveals $40 Billion in Profits in 2019 2, available

at https://tinyurl.com/7cc3dw2t; Ellen Gabler, How a Company Makes Millions off a Hospital

Program Meant to Help the Poor, N.Y. Times (Jan. 16, 2025) (noting that the for-profit middleman




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Apexus “show[s] hospitals how to . . . boost[ ] the number of prescriptions that can qualify for

discounts”), available at https://tinyurl.com/yv7akn6t.

        The predictable result: The algorithms sweep in customers who are not in fact “patients”

of the covered entity—or who are “patients” of multiple covered entities. See, e.g., Government

Accountability Office (GAO), GAO-11-836, Drug Pricing: Manufacturer Discounts in the 340B

Program Offer Benefits, but Federal Oversight Needs Improvement 28 (Sept. 2011), available at

https://www.gao.gov/assets/d11836.pdf. The D.C. Circuit has noted a helpful example: “[S]up-

pose a physician practices at a covered entity and somewhere else. The physician writes a pre-

scription for a patient of his private practice. Yet the contract pharmacy, connecting the physician

to the covered entity, classifies the prescription as eligible for the discount.” Novartis Pharms.

Corp., 102 F.4th at 458. Multiple covered entities and their contract pharmacies also sometimes

claim the same patient, creating duplicative product replenishment orders based on the same pre-

scription.5

        Identifying purported 340B-eligible transactions thus has become big business. A handful

of massive for-profit pharmacy chains and pharmacy benefit managers now dominates the con-

tract-pharmacy industry. Fein, supra n.5. Those entities receive a startling share of the pie: about

16 percent of all 340B “revenue” currently goes to for-profit third parties.6 That share is so sig-

nificant that some covered entities reported a “net loss” on 340B transactions “as a result of their

high external operational costs.” Id. at 25. And third parties are not shy about their dependence



5
  See, e.g., Adam Fein, EXCLUSIVE: For 2023, Five For-Profit Retailers and PBMs Dominate
an Evolving 340B Contract Pharmacy Market, Drug Channels (July 11, 2023), available at
https://tinyurl.com/5n6hfmtd.
6
   Minnesota Dep’t of Health, 340B Covered Entity Report 9 (Nov. 25, 2024), available at
https://www.health.state.mn.us/data/340b/docs/2024report.pdf.



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on this largesse. In its 2023 10K, for instance, Walgreens admitted that changes to contract-phar-

macy arrangements under the 340B program “could . . . significantly reduce [its] profitability.”7

Likewise, CVS warned investors that “a reduction in the use of the Company’s administrative

services by Covered Entities . . . could materially and adversely affect the Company.”8

         None of this arbitrage revenue makes it into patients’ pockets. As covered entities them-

selves often emphasize, “the 340B program does not require passing 340B discounts on to pa-

tients.” See, e.g., Amicus Brief of 340B Health, Genesis Healthcare v. Becerra, No. 4:19-CV-

1531 (D.S.C. Sept. 20, 2023), ECF No. 124-2 at 2 (340B Health Brief). Accordingly, covered

entities use the profits they make on 340B sales to fund “a wide range of activities.” Id. at 3.

         The financial incentives created by the product-replenishment model have warped the

340B program beyond recognition. The program’s original mission was to support the care of

uninsured, low-income patients.9 But dispensing medicine to uninsured patients deprives covered

entities and their for-profit partners of any “spread” to divvy up because that “spread” comes from

the difference between the 340B price and “reimburs[ments] by insurers . . . at the non-discounted

price of the drug.” See 340B Health Brief at 2. So some covered entities now outright refuse to

“offer the 340B price to uninsured patients in any of their contract pharmacy arrangements.” Con-

tract Pharmacy Arrangements at 14.

         HRSA does not meaningfully police covered entities’ use of the product-replenishment

model, despite its plain potential for spawning incorrect and duplicate price concessions. GAO


7
  Walgreens Boots Alliance, 2023 Annual Report 33 (Oct. 12, 2023), available at https://ti-
nyurl.com/ypnas5zt.
8
    CVS Health, 2023 Annual Report 26 (Feb. 7, 2024), available at https://tinyurl.com/kdkx49t2.
9
  IQVIA, Unintended Consequences: How the Affordable Care Act Helped Grow the 340B Pro-
gram (Aug. 30, 2024), available at https://tinyurl.com/45cx3u72.



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has long “identified several areas of weakness in HRSA’s oversight processes that impede its abil-

ity to ensure that duplicate discounts are prevented or remedied.” GAO, GAO-18-480, Drug Dis-

count Program: Federal Oversight of Compliance at 340B Contract Pharmacies Needs Improve-

ment 23 (June 2018) (2018 GAO Report), available at https://www.gao.gov/assets/d18480.pdf.

For example, “HRSA does not assess whether covered entities are actually following state policies

and procedures regarding the use and identification of 340B drugs for Medicaid beneficiaries,”

which fails to create “reasonable assurance” that duplicate discounts can be avoided, leaving drug

manufacturers “at risk.” Id. at 24–25. Worse, HRSA does not even try to “assess for the potential

for duplicate discounts in Medicaid managed care,” which is “particularly problematic” because

that space sees the majority of spending and, likely, the majority of duplicate discounts. Id.

at 25–26. HRSA recently doubled down on this no-managed-care-audit policy, despite conceding

that utilization of Medicaid managed care can result in prohibited discount duplication. See 340B

Drug Pricing Program; Administrative Dispute Resolution Regulation, 89 Fed. Reg. 28,634,

28,649 (Apr. 19, 2024).

       C.      340B Program Abuse Under the Product-Replenishment Model

       Unsurprisingly, the combined result of distorted financial incentives and lack of govern-

ment oversight is a 340B program overrun with abuse. And the Court need not take Lilly’s word

for it; the federal government has confirmed that finding repeatedly. E.g., 2018 GAO Report

at 15–16 (noting that “72 percent of the covered entities audited in fiscal years 2012 through 2017

had one or more findings of noncompliance”); House Energy & Commerce Comm., Review of the

340B Drug Pricing Program 36 (Jan. 10, 2018) (340B Review) (describing “discount errors” as

“likely” and “duplicate discounts” as “quite common”), available at https://tinyurl.com/58rpjkfv;

GAO, GAO-20-212, Oversight of the Intersection with the Medicaid Drug Rebate Program Needs

Improvement 25–27 (Jan. 2020) (2020 GAO Report) (explaining that even identified instances of


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duplicate 340B-Medicare managed care discounts sometimes go unremedied), available at

https://www.gao.gov/assets/gao-20-212.pdf; see also HHS OIG, State Efforts to Exclude 340B

Drugs from Medicaid Managed Care Rebates 10–13 (June 2016) (detailing how Medicaid man-

aged-care claims can “result[ ] in duplicate discounts”), available at https://tinyurl.com/ya3ncn23.

       The potential for abuse intensified in 2010, when the Affordable Care Act expanded the

Medicaid Drug Rebate Program to include Medicaid managed care organizations. See Pub. L.

No. 111-148, § 2501, 124 Stat. 119, 308 (2010). That expansion substantially increased illegal

Medicaid-340B duplicates because Medicaid managed-care accounts for most Medicaid utiliza-

tion. 2020 GAO Report at 1; see also Medicaid & CHIP Payment & Access Comm’n, MACStats:

Medicaid & CHIP Data Book 68–73 (Dec. 2024), available at https://tinyurl.com/3ee9fsvr. And

HRSA’s lack of attention to duplication in Medicaid managed care means “[t]he volume of dupli-

cate discounts . . . may be far greater than has been previously realized.” 340B Review at 37.

       Tellingly, expansion of the Medicaid Drug Rebate Program coincided with explosions of

both contract-pharmacy arrangements and of Medicaid rebates. Between 2010 and 2019, the num-

ber of contract pharmacies increased from about 1,300 to about 23,000. 2020 GAO Report at 2.

That growth has continued since, recently reaching about 35,000. Avalere, Contract Pharmacy

Trends May Help Inform 340B Reform Debate (June 10, 2024), https://tinyurl.com/3umyyrvc.

GAO has tied that contract-pharmacy trend to an “increase[ ]” in “the potential for duplicate dis-

counts.” 2020 GAO Report at 2. HHS OIG, too, has concluded that the proliferation of these

relationships “create[s] complications in preventing duplicate discounts.” Contract Pharmacy Ar-

rangements at 2. The data bear out those conclusions. Total Medicaid rebates rocketed from about

$15 billion in 2011 to over $36 billion by 2018, and then to about $42.5 billion by 2021. 2020

GAO Report at 2; Medicaid & CHIP Payment & Access Comm’n, High-Cost Drugs and the




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Medicaid Program: MACPAC Evidence and Recommendations (Feb. 2024) (MACPAC Report),

available at https://tinyurl.com/34tkverf. But even that steep trajectory pales in comparison to

340B growth: over 129% from 2018 to 2023. Rory Martin & Harish Karne, IQVIA, The 340B

Drug Discount Program Grew to $124B in 2023 (May 31, 2024), https://tinyurl.com/3b8zcu5a.

       While 340B sales have boomed, government audits—even limited as they are—consist-

ently find systematic violations of the 340B statute’s prohibitions on duplication and diversion.

See, e.g., HRSA, Audit Results of Covered Entities, available at https://www.hrsa.gov/opa/pro-

gram-integrity. From just 2012 to 2019, HHS audits revealed over 1,500 instances of 340B pro-

gram noncompliance, including 429 instances of duplication with the Medicaid Drug Rebate Pro-

gram, 546 instances of diversion, and 561 instances of other violations of eligibility requirements.

GAO, GAO-21-107, HHS Uses Multiple Mechanisms to Help Ensure Compliance with 340B Re-

quirements 14 (Dec. 2020), available at https://www.gao.gov/assets/gao-21-107.pdf. Given the

low volume of government audits in the first instance,10 those findings suggest huge rates of non-

compliance. The available evidence confirms as much: In 2021, “[m]ore than 60 percent of au-

dited covered entities had at least one adverse finding.” Lindsay Bealor Greenleaf, Analysis of FY

2021 HRSA 340B Covered Entity Audits (Feb. 23, 2023), https://tinyurl.com/yc2aktnh.

       Opacity is the root cause of these widespread statutory violations. For example, an HHS

audit revealed that a “covered entity and its off-site outpatient facilities did not accurately appear”

on HHS’s 340B Medicaid Exclusion File, which HHS designed “to prevent duplicate discounts by

notifying states and manufacturers which drug claims are not eligible for Medicaid rebates.” See

340B Review at 36–37. GAO has reached the same conclusion. In discussing covered entities’



10
  HRSA explains that it audits only about 200 covered entities per year, ECF No. 1-2 (Pedley
Decl.) ¶ 6, and again, not for duplication in Medicaid managed care, 2018 GAO Report at 25.



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self-reported program violations, it explained that “HRSA does not know if covered entities have

effectively identified the full extent of noncompliance.” GAO, GAO-23-106095, 340B Drug Dis-

count Program: Information About Hospitals That Received an Eligibility Exception as a Result

of COVID-19 20 n.32 (May 11, 2023), available at https://www.gao.gov/assets/gao-23-

106095.pdf. Of course, common sense suggests that self-reported violations amount to only a

fraction of the true extent of malfeasance.

        In fact, some have estimated that three to five percent of all Medicaid rebates now duplicate

340B pricing. Ashwin Mundra, The 340B Noncompliance Data Gap Leaves Drug Manufacturers

in the Dark, Drug Channels (Mar. 18, 2022), available at https://tinyurl.com/2ewmceba. In 2020

alone, that amounted to between $1.3 billion and $2.1 billion in illegal duplicates. Id. The amount

of duplication is likely much higher today because 340B purchases nearly doubled between 2020

and 2023, rising from $38 billion to $66 billion. Adam J. Fein, Drug Channels, The 340B Program

Reached $66 Billion in 2023—Up 23% vs. 2022: Analyzing the Numbers and HRSA’s Curious

Actions (Oct. 22, 2024), available at https://tinyurl.com/mryxdh34.

        These trends show no signs of stopping, especially given the “[l]imitations in federal over-

sight” that “impede CMS’s and HRSA’s ability to ensure compliance with the prohibition on du-

plicate discounts.” 2020 GAO Report at 27. At bottom, HRSA’s oversight failures are so severe

as to “compromise[ ] the integrity of the 340B Program.” See id. So in stemming the tide of abuse,

drug manufacturers are on their own.

        D.      Increased Confusion After the Inflation Reduction Act

        Illegal 340B duplication is now poised to worsen, thanks to the recently enacted Inflation

Reduction Act (IRA). The IRA created Medicare Part B and Part D inflation-rebate programs,

under which manufacturers must pay Medicare rebates on medicines covered under Parts B and D

if their prices rise faster than the rate of inflation. Under the applicable Part D statute, 340B-priced


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medicines will need to be “exclude[d]” from the inflation rebate calculation starting in 2026. 42

U.S.C. § 1395w-114b(b)(1)(B).

        CMS, however, lacks enough information to do so correctly. Although manufacturers will

face civil monetary penalties if they fail to timely pay the appropriate inflation rebate, id. § 1320f–

6(c), CMS openly acknowledges that it has no plan to fulfill its statutory obligation to exclude

340B-priced medicines from its Part D inflation rebate claims. Medicare and Medicaid Programs,

89 Fed. Reg. 97,710, 98,292–93 (Dec. 9, 2024). Nor has CMS provided for any type of dispute-

resolution process or other mechanism to help avoid unlawful duplication of price concessions for

either Part B or Part D drugs. See id. at 98,248–49 (declining to conduct audits); id. at 98,306

(declining to provide “additional reporting”). The government has acknowledged that it may not

bill inflation rebates to manufacturers on 340B-priced units. But the government currently has no

way to identify those prescriptions under Part D—and neither will manufacturers.11

III.    LILLY’S SOLUTION: THE CASH-REPLENISHMENT MODEL

        As these problems worsened with no end in sight, Lilly carefully designed its own solution

to the broken 340B program: a cash-replenishment model.12 As the name suggests, Lilly’s cash-

replenishment model would substitute direct replenishments of cash to covered entities for the


11
    The IRA also raises concerns related to duplication between 340B pricing and price controls
the IRA imposes on top-spend Medicare products, which the IRA forbids. See 42 U.S.C. §§ 1320f-
2(a), (d). Despite the prohibition on such duplication, manufacturers currently lack enough infor-
mation under the product-replenishment model to avoid it—as CMS has effectively acknowl-
edged. See CMS, Medicare Drug Price Negotiation Program: Final Guidance, Implementation
of Section 1191-1198 of the Social Security Act for Initial Price Applicability Year 2027 and Man-
ufacturer Effectuation of the Maximum Fair Price in 2026 and 2027 230–32 (Oct. 2, 2024),
https://tinyurl.com/3dahm5p9. Even so, CMS has left manufacturers alone to devise a solution
because the IRA does not remove their “obligation to provide the 340B ceiling price to eligible
entities.” Id. at 232.
12
   Lilly adopted the phrase “cash replenishment” when describing its rebate model to highlight
the fact that product replenishment is already a functional rebate.



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current replenishments of product. Both models would share the essential feature of a rebate: an

after-purchase true-up to a price at or below the statutory ceiling price. But the cash-replenishment

model would accomplish that goal faster, more directly, and more transparently through data par-

ity, thereby preserving—or even improving—covered entities’ cash flow. See, e.g., 3 Axis Advi-

sors LLC, The 340B Rebate Model: Cash Flow Analysis 15 (Oct. 2021) (finding that switching to

a cash-rebate model proposed by Lilly’s vendor would “have positive cash flow implications” for

covered entities) (Cash Flow Analysis), available at https://tinyurl.com/3zxzwcjk.

       Under the cash-replenishment model, Lilly would make 340B prices available to all cov-

ered entities, for all its products, through one centralized system. AR 272. To do that, Lilly has

contracted with Kalderos, a cutting-edge healthcare technology company. Id. Kalderos would use

a platform called Truzo to provide cash replenishments to covered entities. Id. As they do now,

those providers would first purchase medicine at the commercial price. See id. After identifying

a transaction as eligible for the 340B price, a covered entity would then submit a claim via Truzo

and receive a cash replenishment to effectuate the 340B price. AR 273, 278–82. Through Truzo,

Lilly can provide those cash replenishments weekly, which may be even sooner than covered en-

tities pay wholesalers the market price for the same unit. AR 272. Covered entities may also file

claims for each dispense, meaning they no longer need wait to dispense a whole “package” of

340B-eligible prescriptions before being made whole. AR 296. And 340B status will be assigned

only once, after a prescription has been filled and without any transfer to another prescription—

re-establishing the critical link between the 340B-priced product and the 340B-eligible patient to

ensure statutory compliance.

       To get a cash replenishment, covered entities will need to provide only readily available,

nonproprietary claims data regarding the dispense and purchase of the eligible Lilly product,




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consistent with standard commercial business practices. AR 273. Lilly and Kalderos will then

evaluate these claims data to either validate the claim and promptly issue a replenishment, or flag

the claim if it falls into one of the narrow circumstances that warrants denial or further action, such

as when a covered entity is not registered as a 340B-covered entity on HRSA’s website. AR 299.

To be clear, Lilly will not deny cash-replenishment claims as part of any effort to stamp out un-

lawful duplication; instead, it will simply use the data generated by the cash-replenishment

model’s claims process to dispute duplicate Medicaid and Medicare rebates with the relevant state

agencies or with CMS. Id. Even when a submitted cash-replenishment claim is flagged, covered

entities will have clear visibility into the underlying reason. See id. They will also be able to ask

questions, raise concerns, and resubmit claims, if necessary, after making corrections. AR 282.

       Lilly’s cash-replenishment model, in other words, will operate in the open. Lilly and cov-

ered entities “will see the exact same data—on a claim-by-claim basis.” AR 299. That system

would replace the current set of secret algorithms, putting everyone on the same playing field.

       Lilly’s proposal is not just transparent and efficient; it is supported by longstanding practice

within the 340B program. A cash-rebate model has successfully operated for decades for a type

of covered entity called AIDS Drug Assistance Programs, or ADAPs. An ADAP is a state- or

territory-sponsored payor that “provides . . . medications to low-income people with HIV.”

HRSA, Part B: Aids Drug Assistance Program (ADAP) (last updated Dec. 2024), available at

https://tinyurl.com/yv2yf9sd. Under that rebate model, manufacturers give ADAPs cash, after an

initial market-price purchase, in amounts that “equal or exceed the discount provided by the stat-

utory ceiling price,” just as Lilly is now proposing to do for all covered entities. Notice Regarding

Section 602 of the Veterans Health Care Act of 1992 Rebate Option, 62 Fed. Reg. 45,823, 45,824

(Aug. 29, 1997) (Rebate Notice).




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       HRSA has never asserted that the ADAP cash-rebate arrangements required its preap-

proval. Nor has it ever objected to the lawfulness of those arrangements. Instead, after HRSA

noticed the existing prevalence (and, presumably, the desirability) of these arrangements, the

agency proposed to formally “recognize[ ]” such a model as a legitimate “method of accessing the

340B program.” Rebate Notice, 62 Fed. Reg. at 45,824. Then, after a public-comment period,

HRSA “recognize[d] an ADAP rebate option” as “consistent with the section 340B rebate pro-

gram” without purporting to impose “in-depth implementation strategies.” Notice Regarding Sec-

tion 602 of the Veterans Health Care Act of 1992—Rebate Option, 63 Fed. Reg. 35,239, 35,240

(June 29, 1998) (Rebate Final Notice). The agency simply recommended that ADAPs receiving

cash rebates follow “[s]tandard business practices.” Id.

       By adopting a cash-replenishment model, Lilly hopes to bring the benefits created by

ADAPs’ cash-rebate arrangements to all 340B transactions. The cash-replenishment model’s

strengths respond to all the weaknesses of the product-replenishment model that have allowed the

fraud, waste, and abuse detailed above to fester: The model would bring faster and more efficient

payments. It would enable a process of validating eligibility for the 340B price. It would deliver

cash directly to covered entities, rather than their third-party administrators. It would give manu-

facturers information they need to effectuate several important statutory objectives, including the

prevention of duplication—especially in the Medicaid managed care context, where HRSA does

not audit—the channeling of disputes into the audit and ADR processes, and the ability to imple-

ment IRA pricing correctly. And the model would do all that without costing covered entities

anything, causing their valid claims for 340B rebates to be denied, or slowing their cash flow.

       In sum, the cash-replenishment model would restore some transparency and integrity to a

broken federal program that regulators have been unable—and unwilling—to fix themselves.




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IV.    HRSA’S RESPONSE: A NUCLEAR THREAT

       In August 2024, Lilly notified HRSA of its proposed solution. AR 257. Lilly introduced

the cash-replenishment model to the agency as “a highly desirable method of effectuating the 340B

ceiling price” and requested a meeting with HRSA to discuss the model in more detail.

AR 257–58. Lilly explained that it planned to announce its adoption of the cash-replenishment

model by late September 2024. AR 258.

       Other manufacturers made similar proposals around the same time. HRSA adopted a uni-

formly hostile stance towards those attempts. In an August 14, 2024 letter addressing a rebate

proposal from Johnson & Johnson, HRSA announced: “To date, the Secretary has not provided

for such rebate as proposed by J&J. Therefore, implementing such a proposal at this time would

be inconsistent with the statutory requirements for the 340B Program, which require the approval

of a rebate model such as J&J has proposed.” AR 66.

       Lilly and HRSA nevertheless met in early September to discuss Lilly’s proposed cash-

replenishment model. AR 272. A few days later, Lilly followed up with a letter providing further

details and asking the agency to publicly endorse Lilly’s efforts to fix the 340B system. Id. Lilly

explained more about how the Truzo platform works, AR 272–73, pointed out that the 340B statute

permits manufacturers to offer 340B prices using rebates, AR 274, and noted that the cash-replen-

ishment model is the only way Lilly can navigate the interlocking maze of federal drug-pricing

requirements, AR 274–75, and meaningfully participate in statutory audit and ADR processes,

AR 276.

       While Lilly’s submission was pending before HRSA, the agency sent a second letter to

Johnson & Johnson. See AR 202. That letter asserted the same purported preapproval power over

Johnson & Johnson’s plan, but this time, it contained a nuclear threat: If Johnson & Johnson

implements a cash-replenishment model without HRSA’s preapproval, the agency may terminate


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the company’s PPA—and with it, the availability of federal funds under Medicaid and Medicare

Part B for Johnson & Johnson’s products—and assess civil monetary penalties. AR 203. HRSA’s

preference is extraordinary—it would rather deprive Medicare and Medicaid patients of lifesaving

medicines than restore integrity to the 340B program.

       The implications for Lilly’s proposal were obvious.13 And like clockwork, HRSA shut

down Lilly’s cash-replenishment model the next day. In a letter dated September 18, 2024, the

agency repeated what it had told Johnson & Johnson: offering 340B prices using cash replenish-

ment would “require [its] approval” in advance. AR 292. The letter went on: “To date, the Sec-

retary has not provided for such rebate as proposed by Lilly. Therefore, implementing such a

proposal at this time would be inconsistent with the statutory requirements for the 340B Program,

which require the approval of a rebate model such as Lilly has proposed.” Id. And HRSA did not

provide any such approval, instead asking Lilly several further questions about the cash-replenish-

ment model without indicating when, whether, or under which criteria the agency would consider

purporting to “approve” the model’s use. AR 292–94. HRSA did not cite any statutory provisions

in support of its questions. See id.

       Although disappointed by HRSA’s decision to reject its cash-replenishment model, Lilly

tried to persuade the agency by thoroughly answering its questions. AR 295–304. Lilly further



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    HRSA’s harsh threats came after covered entities urged the agency to “take immediate enforce-
ment action” against manufacturers attempting to implement a cash rebate program. See, e.g.,
American Hosp. Ass’n, AHA Urges HRSA to Take Immediate Enforcement Action to Block J&J’s
Illegal Imposition of 340B Rebate Model (Aug. 28, 2024), https://tinyurl.com/bdwewpav; see also
generally AR 564–82 (covered entities’ pre-decision communications to HRSA regarding Johnson
& Johnson’s cash-rebate proposal). The administrative record appears to contain various such
letters from covered entities and other third parties, including many that post-date HRSA’s deci-
sion to reject Lilly’s cash-replenishment model. See AR 534, 537–57, 561–87, 609–15, 632–47.
Given that HRSA afforded Lilly no process and offered no explanation for rejecting Lilly’s cash-
replenishment model, these letters have (and can have) no role to play in this challenge.



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explained why the cash-replenishment model is the only way Lilly can address the problems that

have riddled the 340B program and showed that the agency’s expressed concerns are not rooted in

the facts of Lilly’s proposal. AR 295–301. Lilly also objected to HRSA’s mistaken claims that

the 340B statute requires Lilly to get the agency’s preapproval before implementing a cash-replen-

ishment model, and that HRSA has ad hoc authority to reject such a system. AR 295, 301. Lilly

asked HRSA to notify Lilly if HRSA changed its mind, and noted that it understood HRSA’s

September 18 letter to have expressed the agency’s final view. AR 301.

       HRSA did not change its mind. Instead, it redoubled its efforts to cow manufacturers into

obeying its commands. In a third letter to Johnson & Johnson, HRSA warned that, if it implements

a rebate model, HRSA “will begin the process” of terminating its PPA and “will” refer Johnson &

Johnson to HHS OIG. AR 214 (emphases added).

       HRSA’s threat applies to all manufacturers, as the agency later made even clearer. After a

third manufacturer, Sanofi, told covered entities it would implement a rebate model, HRSA re-

sponded exactly as it had before. The agency sent Sanofi a letter asserting purported preapproval

authority over Sanofi’s rebate model, and it threatened to terminate Sanofi’s PPA and impose civil

monetary penalties if Sanofi does not comply. AR 424–25. HRSA also “publicly articulate[d]”

its “unequivocal position,” Ciba-Geigy Corp. v. EPA, 801 F.2d 430, 436 (D.C. Cir. 1986), by

publishing its threats to Johnson & Johnson and Sanofi prominently on its website. See HRSA,

Program Integrity (last updated Jan. 2025), https://www.hrsa.gov/opa/program-integrity. The

agency still trumpets its mistaken legal position online: “[I]mplementing a rebate proposal without

Secretarial approval would violate Section 340B(a)(1) of the Public Health Service Act.” HRSA,

340B Drug Pricing Program (last updated Jan. 2025), https://www.hrsa.gov/opa; see also




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Pharmaceutical Rsch. & Mfrs. of Am. v. HHS, 138 F. Supp. 3d 31, 43–44 (D.D.C. 2015) (noting

that HRSA had announced supposed “statutory requirements” on its website) (quotation omitted).

       Shortly after HRSA announced its position and threatened revocation of manufacturers’

PPAs, several manufacturers sued the agency. Johnson & Johnson filed first. Johnson & Johnson

Health Care Sys. Inc. v. Becerra, No. 24-CV-3188 (D.D.C. filed Nov. 12, 2024). Two days later,

Kalderos, Lilly’s technology vendor, moved for leave (later granted) to amend an existing com-

plaint before this Court to assert claims against HRSA for stopping manufacturers from imple-

menting rebate models, preventing those manufacturers from using its services. Kalderos, Inc. v.

United States, No. 21-CV-2608 (D.D.C. filed Nov. 14, 2024), ECF No. 31. Lilly filed this suit the

same day. ECF No. 1. Bristol Myers Squibb, Sanofi, and Novartis then filed their own suits,

which have been assigned to this Court, and are proceeding on the same briefing schedule for

dispositive motions. See Bristol Myers Squibb Co. v. Johnson, No. 24-CV-3337 (D.D.C. filed

Nov. 26, 2024); Sanofi-Aventis U.S. LLC v. HHS, No. 24-CV-3496 (D.D.C. filed Dec. 16, 2024);

Novartis Pharms. Corp. v. Becerra, No. 25-CV-117 (D.D.C. filed Jan. 15, 2025).

       Lilly seeks three forms of relief. First, the Court should set aside HRSA’s position, ex-

pressed in its September 18 letter to Lilly and elsewhere, that Lilly’s decision to implement a cash-

replenishment model is unlawful without HRSA’s preapproval. Second, the Court should enjoin

HRSA from enforcing its unlawful position regarding Lilly’s cash-replenishment model. Third,

the Court should declare that Lilly’s cash-replenishment model is lawful and that Lilly may im-

plement it. Absent that relief, the 340B program will remain broken.

                                     LEGAL STANDARDS

       The APA requires a reviewing court to “hold unlawful and set aside agency action, find-

ings, and conclusions” that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). Agency action must be set aside when it violates a


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statute, Orion Rsrvs. Ltd. P’ship v. Salazar, 553 F.3d 697, 703 (D.C. Cir. 2009), or the agency’s

own regulations, National Env’t Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999, 1009 (D.C.

Cir. 2014). Agency action is arbitrary and capricious if it treats similar cases differently without

adequate explanation. See, e.g., Lone Mountain Processing, Inc. v. Secretary of Labor, 709 F.3d

1161, 1164 (D.C. Cir. 2013). So too if the agency defies logic, or if the agency’s decision reflects

a lack of reasoned decisionmaking. See, e.g., Fox v. Clinton, 684 F.3d 67, 80 (D.C. Cir. 2012).

       Judicial review requires a “searching and careful” inquiry into the basis of the agency’s

decision. Zotos Int’l, Inc. v. Young, 830 F.2d 350, 352 (D.C. Cir. 1987). Courts “may not defer

to an agency interpretation of the law simply because a statute is ambiguous.” Loper Bright Enters.

v. Raimondo, 144 S. Ct. 2244, 2273 (2024). A reviewing court may defer to an agency’s technical

or scientific judgments to the extent they are consistent and reasonable, but courts do “not hear

cases merely to rubber stamp agency actions.” Natural Res. Def. Council, Inc. v. Daley, 209 F.3d

747, 755 (D.C. Cir. 2000). Instead, the APA requires courts to hold agency action unlawful unless

they reach the “independent conclusion,” A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1492 (D.C.

Cir. 1995), that the action was “reasonable and reasonably explained.” FCC v. Prometheus Radio

Project, 592 U.S. 414, 423 (2021).

                                          ARGUMENT

I.     HRSA’S PURPORTED “PREAPPROVAL” REQUIREMENT IS UNLAWFUL.

       A.      The Statute Permits Manufacturers to Choose Between Rebates and Discounts
               Unless and Until HRSA Amends PPAs.

       The 340B statute authorizes both rebates and discounts—and it does not preference one

over the other, much less suggest a default (or exclusive) approach. The text simply requires

manufacturers to agree with the Secretary to charge no more than the statutory ceiling price. See

42 U.S.C. § 256b(a)(1). Under that agreement, “the amount required to be paid” must account for



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“any rebate or discount, as provided by the Secretary.” Id. (emphasis added). To state the obvious,

the statute’s use of the disjunctive “or” matters because it connotes a choice between two valid

alternatives. See, e.g., In re Espy, 80 F.3d 501, 505 (D.C. Cir. 1996).

       The statute continues to reference rebates throughout. The very next paragraph, for exam-

ple, defines the statutory ceiling price, which is achieved by reducing the “average manufacturer

price.” See 42 U.S.C. § 256b(a)(2). That reduction is called the “rebate percentage.” Id. Later,

in the statute’s prohibition on duplication, it again describes “discounts or rebates.”           Id.

§ 256b(a)(5)(A). And when an amendment to the statute sought to improve its functionality, one

of the targeted changes was a “mechanism” for reporting “rebates and other discounts” and ensur-

ing that “such discounts or rebates” resulted in the appropriate ceiling price.              See id.

§ 256b(d)(1)(B)(iv). Such persistent textual parity between rebates and other forms of achieving

the ceiling price belies any suggestion that the statute disfavors rebates. “Had Congress intended

to” mandate the use of point-of-sale discounts, “it presumably would have done so expressly.” See

Rusello v. United States, 464 U.S. 16, 23 (1983). Instead, Congress directed HRSA to select pric-

ing methods, if at all, in “an agreement with each manufacturer.” See 42 U.S.C. § 256b(a)(1).

       Lilly’s PPA likewise makes no distinction between rebates and discounts. In fact, it does

not mention discounts or rebates at all. It provides only that Lilly “shall offer each covered entity

covered outpatient drugs for purchase at or below the applicable ceiling price.” AR 47. Like the

statute, Lilly’s PPA does not specify a mechanism for doing so. See id. That is unsurprising

because, in practice, PPAs have “simply incorporate[d] statutory obligations and record[ed] the

manufacturers’ agreement to abide by them.” Astra USA, 563 U.S. at 118. Thus, neither operative

legal authority establishes how manufacturers must effectuate 340B prices.




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       Because there is no constraint in either the statute or in Lilly’s PPA, manufacturers may

choose how to offer 340B prices. The absence of any statutory or contractual command about

which method to use “implies that private parties may act freely.” Novartis Pharms. Corp., 102

F.4th at 460; see also Sanofi, 58 F.4th at 707 (“Legal duties do not spring from silence.”). HRSA

has nevertheless attempted to deny Lilly the freedom to implement the ceiling price using one of

the methods expressly authorized by the statute, without pointing to any basis in Lilly’s PPA.

       B.      HRSA Has No Ad Hoc “Pre-Approval” Authority.

       Perhaps recognizing the 340B statute’s permissiveness, HRSA has not quite claimed that

the statute outright forbids manufacturers to use a cash-replenishment model. Its position instead

is that manufacturers cannot do so without HRSA’s preapproval. See AR 202–03, 424–25. HRSA

apparently intends to exercise that supposed preapproval authority by ad-hoc and opaque adjudi-

cations, using undisclosed standards and weighing unknown factors, on whatever timeline it deems

convenient. See AR 292–94 (purporting to withhold approval of Lilly’s cash-replenishment model

indefinitely while considering Lilly’s responses to various questions). But the statute gives HRSA

no such power—and HRSA accordingly has never exercised such authority over either the ADAP

cash-rebate model or the product-replenishment model.

       HRSA, for its part, has repeatedly emphasized that the 340B statute mentions a role for the

HHS Secretary in choosing between rebates and discounts. See, e.g., AR 202, 292. Yet only by

ignoring the context in which that reference occurs can HRSA suggest that the agency may compel

that selection by any method it likes. The statute directs the Secretary to “enter into an agreement

with each manufacturer”—that is, a PPA—“under which the amount required to be paid” to the

manufacturer does not exceed the ceiling price. 42 U.S.C. § 256b(a)(1) (emphasis added). Thus,

it is the PPA “under which” the ceiling price must account for “any rebate or discount, as provided

by the Secretary.” Id. Put differently, any restrictions on the selection of either rebates or discount


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must be contained in the PPA, which is deemed to have the force and effect of law with respect to

its signatories. See Astra USA, 563 U.S. at 118.14

       That conclusion also follows from “the broader context of the statute as a whole.” See

Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997). The phrase “as provided by the Secretary”

occurs in the part of the statute devoted solely to establishing “requirements for agreement with

Secretary.” 42 U.S.C. § 256b(a) (capitalization altered). That statutory heading supplies a further

“cue[ ] that Congress did not intend” to give HRSA unfettered discretion to employ case-by-case

decisionmaking. See Yates v. United States, 574 U.S. 528, 540 (2015).

       HRSA thus misconstrues the statute by pointing out that it “has not provided for such rebate

[sic] as proposed by Lilly.” AR 292. That is exactly backwards. Under the statute, any “provid-

ing” the Secretary intends to attempt must be done in the PPA. So what matters is that Lilly’s PPA

contains no limit on how it may charge a rate at or below the ceiling price—or, indeed, any in-

structions whatsoever for effectuating 340B prices. See AR 47.

       The PPA’s silence in this regard is no accident. HRSA could not, of course, amend Lilly’s

PPA to require any particular mechanism without articulating a reasoned basis for doing so. See

Doe v. Devine, 703 F.2d 1319, 1326 (D.C. Cir. 1983) (applying the arbitrary-and-capricious stand-

ard to an agency’s contracting behavior). And HRSA could not articulate any reasonable basis for

enshrining the disastrous product-replenishment model as a legal requirement. Any attempt to do

so would lay bare the myriad problems with that model and entangle the agency in a doomed

attempt to “show that there are good reasons” for eschewing a fast, transparent, and fair solution

to those problems. See Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016). But what




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   The extent to which HRSA can change PPAs through notice-and-comment rulemaking is not
an issue presented in this case.


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HRSA cannot do explicitly for lack of rational justification, it also may not do by silently with-

holding preapproval, manufacturer by manufacturer and case by case. To do that would be to

impermissibly “exercise [a] power[ ] not delegated to it by Congress.” Ball, Ball & Brosamer,

Inc. v. Reich, 24 F.3d 1447, 1450 (D.C. Cir. 1994).

II.    HRSA’S POSITION IS ARBITRARY AND CAPRICIOUS.

       HRSA’s rejection of Lilly’s cash-replenishment model is independently unlawful because

it is arbitrary and capricious. HRSA’s failure to engage in reasoned decisionmaking could hardly

be more flagrant—it failed to give Lilly any explanation for rejecting its cash-replenishment

model. See AR 292–94. And the administrative record reveals no deliberation whatsoever. De-

spite receiving volumes of information explaining the benefits of cash replenishment and the fail-

ings of product replenishment, e.g., AR 56–65, 72–200, 207–11, 234–46, 262–91, HRSA failed to

consider those factors before rejecting Lilly’s model, let alone provide a coherent rationale. This

Court need go no further to vacate HRSA’s decision. “[A] conclusion accompanied by ‘no expla-

nation’ is the epitome of ‘arbitrary and capricious’ decision-making.” Policy & Rsch., LLC v.

HHS, 313 F. Supp. 3d 62, 72 (D.D.C. 2018) (quoting Communications & Control, Inc. v. FCC,

374 F.3d 1329, 1335–36 (D.C. Cir. 2004)).

       HRSA’s caprice also manifests in at least four ways, each of which independently violates

the APA and requires summary judgment for Lilly. First, the product-replenishment model and

the cash-replenishment model are legally indistinguishable, so HRSA cannot reasonably treat them

differently. Second, the cash-replenishment model already has succeeded with some covered en-

tities, as HRSA has acknowledged, so the agency cannot prevent its implementation as to other

covered entities without irrationally treating like cases differently. Third, HRSA’s position fails

to account for the significant policy reasons for adopting the cash-replenishment model. Fourth,

HRSA’s position frustrates the commonsense benefits the cash-replenishment model offers.


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       A.       HRSA Has Offered No Cogent Reason for Treating Product Replenishment
                and Cash Replenishment Differently.

       An agency’s obligation to “treat like cases alike” is a “fundamental principle of adminis-

trative law.” Grayscale Invs., LLC v. SEC, 82 F.4th 1239, 1242 (D.C. Cir. 2023). To reasonably

treat two situations differently, an agency must “identify the features of” each situation “that point

toward one [decision] or another” and “offer sensible distinctions between” them. Colorado In-

terstate Gas Co. v. FERC, 850 F.2d 769, 775 (D.C. Cir. 1988). Such distinctions must be rooted

in “the relevant regulatory factors.” Grayscale Invs., 82 F.4th at 1245. Here, HRSA failed even

to acknowledge its differing treatment of those models, much less offer any sensible distinctions

between them.

       Covered entities and their profit-seeking partners implemented the product-replenishment

without any HRSA “preapproval” whatsoever.15 Not only did HRSA never object to the product-

replenishment model’s emergence; but HRSA also acknowledged the model’s prevalence as

though the agency were no more than a neutral observer. See, e.g., Contract Pharmacies Opinion

at 6–8 & n.6. In claiming for the first time that manufacturers require the agency’s blessing before

using a method of charging covered entities, HRSA failed to “display awareness” that it had never

before asserted such power. See Encino Motorcars, 579 U.S. at 221–22 (quotation omitted). That

“failure to even acknowledge its past practice[,] . . . let alone to explain its reversal of course” is

prototypically “arbitrary and capricious.” American Wild Horse Pres. Campaign v. Perdue, 873

F.3d 914, 927 (D.C. Cir. 2017).



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    See National Council for Prescription Drug Programs, 340B Information Exchange 12 (July
2011) (describing the model as an accounting covered entities “may elect to utilize”), available at
https://tinyurl.com/ycyc4hnd. Tellingly, Lilly’s PPA does not instruct it to offer product replen-
ishments to covered entities, AR 47, and HRSA has not pointed to language from the PPA to sup-
port its position, AR 295–301.



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       HRSA also has not attempted to explain why its preapproval is required for one model and

not the other. Nor could it. There is no legal distinction between the two models; the 340B statute

displays no preference between various possible mechanisms for effectuating the ceiling price.

Supra at 26–27. The same is true of Lilly’s PPA, which references neither mechanism and focuses

simply on the outcome: whether the transaction results in the covered entity’s paying for medicine

“at or below the applicable ceiling price.” AR 47.

       HRSA has likewise failed to distinguish factually between the product-replenishment

model and the cash-replenishment model. The core problem for the agency’s position is that both

models involve rebates. In the product-replenishment model, a covered entity must first pay the

market price for covered outpatient medicines. See ECF No. 1-2 (Pedley Decl.) ¶¶ 3, 5 (explaining

that entities do not receive “the 340B discount” until “after a drug is dispensed”). Only following

the initial purchase at the market price may a covered entity replenish the dispensed product at the

340B-price. Id. In fact, covered entities’ agents often do not even “attempt to discern” whether a

particular medicine was eligible for the 340B price until long after dispensing it. Novartis Pharms.

Corp., 102 F.4th at 457. And only after many such transactions may a covered entity or its agent

place an order for a full package to “replenish its section 340B purchases,” effectuating the 340B

price. Id.; see also ECF No. 1-2 (Pedley Decl.) ¶ 8 (noting that most covered outpatient medicines

have a “pre-set package size” larger than the amount of a single dispense, and covered entities

cannot replenish the product at the 340B price until they have dispensed the product enough times

to amount to that package size).

       The product-replenishment model thus provides covered entities the 340B price retrospec-

tively, after the initial purchase at the market price. That is the essential feature of a rebate. See,

e.g., 42 C.F.R. § 1004.952(h)(4) (“[A] rebate is any discount the terms of which are fixed and




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disclosed in writing to the buyer at the time of the initial purchase to which the discount applies,

but which is not given at the time of sale.” (emphasis added)); Elevance Health, Inc. v. Becerra,

736 F. Supp. 3d 1, 5 (D.D.C. 2024) (noting that the Medicare Advantage statute describes money

to be “return[ed]” to a plan “as a ‘rebate’ ”) (quoting 42 U.S.C. § 1395w-23(a)(1)(E)); 42 U.S.C.

§§ 1396r-8(b)(1)(A), (2)(A) (establishing a “rebate” to be paid “after the date of receipt” of infor-

mation about medicine “for which payment was made” (emphasis added)); Oxford English Dic-

tionary (defining “rebate” as a “deduction from a sum of money to be paid,” especially “one given

retrospectively”); Cambridge Dictionary (defining “rebate” as “money that is returned to you after

you pay for goods or services”); Merriam-Webster Dictionary (defining “rebate” as “a return of

part of a payment” (emphasis added)); Britannica Dictionary (defining “rebate” as “an amount of

money that is paid back to you” (emphasis added)).

       Because both the cash-replenishment model and the product-replenishment model rely on

rebates, there are no “relevant regulatory factors” that allow HRSA to treat them differently. See

Grayscale Invs., 82 F.4th at 1245. The statute hints at only one possible distinction: whether the

ceiling price is accomplished by a “rebate or discount.” See 42 U.S.C. § 256b(a)(1). The two

models are “functionally indistinguishable” on that ground, and HRSA has provided no reason to

think otherwise, despite its attempt to give the models different legal status.16 See Independent

Petrol. Ass’n of Am. v. Babbitt, 92 F.3d 1248, 1260 (D.C. Cir. 1996). Thus, HRSA has flouted

“the very meaning of the arbitrary and capricious standard.” Id.


16
    HRSA cannot dispute that the product-replenishment model is a rebate model without also
undermining its legality. As the agency has recognized, the product-replenishment model requires
an initial purchase at the market price. See ECF No. 1-2 (Pedley Decl.) ¶ 5. It therefore cannot
qualify as a “discount” mechanism of providing 340B prices. See, e.g., United States v. Shaw, 106
F. Supp. 2d 103, 116 (D. Mass. 2000) (“A rebate is typically given after sale and discounts are
effected at the time of sale.”). If the product-replenishment model is neither a “rebate” nor a “dis-
count,” then it is not authorized by the statute. 42 U.S.C. § 256b(a)(1).



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        B.      HRSA Has Offered No Cogent Reason for Treating ADAPs and Other
                Covered Entities Differently.

        HRSA’s attempt to quash Lilly’s implementation of a cash-replenishment model also treats

like cases differently in another critical way: it allows manufacturers to use cash replenishment for

ADAPs, but not for other types of covered entities. That disparity has no rational basis, and HRSA

has offered no justification for creating it.

        ADAPs’ participation in the 340B program via a cash-replenishment model is now a “long-

standing practice.” 340B Drug Pricing Program Omnibus Guidance, 80 Fed. Reg. 52,300, 52,313

(Aug. 28, 2015). For decades, ADAPs have been able “to access 340B prices on covered outpa-

tient drugs” by receiving “a rebate after the purchase.” Id. HRSA has not denounced this practice

as unlawful, nor did it insist on its pre-approval; instead, it formally endorsed that cash-replenish-

ment model after the fact.

        Take it from HRSA itself: After considering public comments, the agency concluded that

cash rebates for ADAPs are “consistent with the section 340B rebate program.” Rebate Final

Notice, 63 Fed. Reg. at 35,240. Such a model does not constitute an overcharge, HRSA explained,

so long as the rebates “provide at least the minimum statutory discount and do not contain require-

ments inconsistent with section 340B and published program guidelines.” Id. Nor do cash rebates

offend the statutory text; according to HRSA, “Section 340B has no explicit language as to whether

the required reduction in price should be obtained by an initial reduction in the purchase price (i.e.,

a discount mechanism) or received as a required reduction in cost rebated after purchase, dispens-

ing, and payment are completed (i.e., a rebate option).” Rebate Notice, 62 Fed. Reg. at 45,824.

        Despite HRSA’s recognition of a cash-replenishment model for ADAPs, however, it did

not purport to preapprove that model. HRSA was clear: it “only recognize[d]” that a preexisting

“ADAP rebate option” was lawful—it did not create something new. Rebate Final Notice, 63 Fed.



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Reg. at 35,240; see also id. (“ADAPs may continue to provide utilization data according to terms

of existing agreements if so desired.” (emphasis added)). HRSA even described preexisting meth-

ods of implementing cash rebates as “models to be emulated,” and the agency elected not to “pro-

vide in-depth implementation strategies.” Id. Nor has Lilly’s PPA ever contained any instruction

or authorization to use a cash-replenishment model for ADAPs.

       Those statements directly contradict HRSA’s more recent comments on the same subject.

In its second letter to Johnson & Johnson, HRSA hinted that a cash-replenishment model could

violate the statute because the up-front market price may temporarily exceed the statutory ceiling

price. AR 203. That claim cannot be squared with HRSA’s longstanding stance that a post-pur-

chase rebate may be paid to ADAPs “as a method” of furnishing “the 340B discount provided by

the statutory ceiling price.” Final Rebate Notice, 63 Fed. Reg. at 35,242. Likewise, in its recent

letters to Lilly and other manufacturers, the agency said nothing of “recognizing” the payment of

cash rebates, insisting instead upon its advance “approval of a rebate model.” AR 203, 295, 425.

       HRSA had it right the first time. Worse, HRSA again failed to acknowledge or explain its

about-face. None of HRSA’s recent letters mentions ADAPs at all, even though Lilly and other

manufacturers explained in their submissions to the agency that ADAPs’ use of a cash-replenish-

ment model implicates the same legal questions. See AR 202–03, 292–94, 424–25. That failure

is fatal to HRSA’s decision. “[A]n agency’s unexplained departure from precedent is arbitrary

and capricious,” ABM Onsite Servs. W., Inc. v. NLRB, 849 F.3d 1137, 1142 (D.C. Cir. 2017), and

the circuit has “never approved an agency’s decision to completely ignore relevant precedent,”

Jicarilla Apache Nation v. U.S. Dep’t of the Interior, 613 F.3d 1112, 1120 (D.C. Cir. 2010).

       Given HRSA’s silence, it goes without saying that the agency has not tried to justify its

disparate treatment of ADAPs and other covered entities by identifying special features of ADAPs




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that warrant a cash-replenishment model. At most, HRSA once alluded to that possibility by stat-

ing that it agreed with a commenter’s assertion that ADAPs have “unique needs” that justify a

rebate model. Rebate Final Notice, 63 Fed. Reg. at 35,241. But neither the commenter nor HRSA

explained what those supposed unique needs are, much less how any such needs justify foreclosing

an admittedly lawful model as to other covered entities. HRSA should not be heard to attempt

such distinctions now, because “post hoc rationalization . . . cannot support [agency] action.” Re-

public Airline Inc. v. DOT, 669 F.3d 296, 302 (D.C. Cir. 2012).

       In any event, ADAPs are not meaningfully different from other covered entities. HRSA’s

most recent guidance manual to ADAPs recognizes as much. As the manual explains, ADAPs

“submit claims to drug manufacturers for rebates on medications that were purchased through a

retail pharmacy network at a price higher than the 340B price.” HIV/AIDS Bureau, AIDS Drug

Assistance Program (ADAP) Manual 42 (June 2023) (ADAP Manual), available at https://ti-

nyurl.com/2pcx49t4. But that is exactly how other entities use the product-replenishment model:

They purchase drugs at the market price and later reconcile that purchase with the 340B ceiling

price. ECF No. 1-2 (Pedley Decl.) ¶¶ 3, 5. Similarly, HRSA noted that ADAPs implement the

cash-replenishment model through “formal agreements with a network of retail pharmacies.”

ADAP Manual at 42. Again, that system mimics the contract-pharmacy and third-party-adminis-

trator arrangements utilized by covered entities under the product-replenishment model. See ECF

No. 1-2 (Pedley Decl.) ¶ 4.

       Perhaps HRSA’s most significant concession regarding ADAPs’ use of the cash-replenish-

ment model is that the model works. HRSA has recommended to ADAPs that they pursue 340B

rebates using “standard business practices”—conditions inherent in rebate models that HRSA

thereby implicitly has recognized as lawful. See Rebate Final Notice, 63 Fed. Reg. at 35,239–41.




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HRSA has encouraged ADAPs to provide “detailed and accurate . . . initial claim data,” id.

at 35,241, and to “engage in a thorough cash flow analysis,” ADAP Manual at 43. By doing so,

the agency explained, ADAPs can use rebates to “ensure a continuous cash flow” and “prevent the

potential for cash shortages and program service delivery disruption.” Id. That guidance dispels

HRSA’s purported concern, expressed to Johnson & Johnson, that a cash-replenishment model

may cause covered entities to struggle with “higher up-front costs” for covered drugs. AR 203.

HRSA did not attempt to explain why covered entities could not simply follow the same standard

business practices that have worked for ADAPs and myriad other entities in the healthcare sys-

tem—that is what makes them “standard.”

          That reasoning gap is attributable to HRSA’s utter neglect to compare ADAPs and other

covered entities, despite the obvious precedent ADAPs provide for the questions before the

agency. That failure caused HRSA to impose different rules on indistinguishable situations. That

was unlawful. Dillmon v. National Transp. Safety Bd., 588 F.3d 1085, 1091 (D.C. Cir. 2009).

          C.       HRSA Neither Acknowledged nor Addressed the Benefits of the Cash-
                   Replenishment Model.

          Of the several ways the cash-replenishment model would help restore integrity to the 340B

program, two merit particular consideration: (1) the cash-replenishment model would help prevent

duplicate discounts and rebates—facilitating compliance with important statutory prohibitions the

product-replenishment model has thwarted; and (2) the cash-replenishment model would enable

Lilly to meaningfully participate in the statutory audit and ADR processes. HRSA’s caprice is

heightened by its disregard of both factors.

          An agency acts unlawfully if it “entirely fail[s] to consider an important aspect of the prob-

lem.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983).        An aspect of the problem is important “by definition” if Congress mandated its



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consideration by including it in the statute. See Public Citizen v. Federal Motor Carrier Safety

Admin., 374 F.3d 1209, 1216 (D.C. Cir. 2004). And an agency may not simply purport to have

considered all important aspects of the problem; it must “provide more than ‘conclusory state-

ments’ to prove [it] ‘considered the relevant priorities.’ ” Stewart v. Azar, 313 F. Supp. 3d 237,

259 (D.D.C. 2018) (quoting Getty v. Federal Savs. & Loan Ins. Corp., 805 F.2d 1050, 1057 (D.C.

Cir. 1986)) (alterations adopted).

                1.     The Cash-Replenishment Model Would Curb Unlawful Duplication.

       One of the 340B program’s basic objectives is to prevent duplicate price concessions. The

statute’s first “requirement[ ] for covered entities” is to “prohibit[ ]” them from requesting “dupli-

cate discounts or rebates” through the Medicaid Drug Rebate Program. 42 U.S.C. § 256b(a)(5)

(capitalization altered). Congress also prohibited duplication with respect to the IRA’s Medicare

inflation rebates, see id. §§ 1395w-3a(i)(3)(B)(ii)(I), 1395w-114b(b)(1)(B), and price controls, id.

§ 1320f-2(d).

       The product-replenishment model places that objective behind an insurmountable obstacle.

Its critical defect is that a prescription cannot be identified as 340B-eligible until long after medi-

cine has been dispensed, and then its status as 340B-eligible may be transferred to other packages,

further obfuscating the audit trail. See ECF No. 1-2 (Pedley Decl.) ¶¶ 5–11. Thus, a manufacturer

cannot know that a sale poses a risk of duplication until it is too late to prevent it, assuming the

daisy chain can even be followed through to the end.

       Lilly’s cash-replenishment model would surmount that obstacle with swift transparency.

The model would align covered entities’ incentives with Lilly’s incentives because each would

have good reason to identify a single prescription as 340B-eligible as quickly as possible—pro-

viders to receive the 340B price, and Lilly to prevent duplication. The model would also give Lilly

the tools needed to achieve the statutory scheme’s anti-duplication objective. The providers’


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readily available claims data will enable Lilly to match those data with claims for rebates under

the Medicaid Drug Rebate Program and with claims subject to inflation rebates. Lilly can then

help ensure that all stakeholders receive the price they are supposed to receive, when they are

supposed to receive it.

       The agency’s failure to consider those benefits is especially frustrating given HHS’s doc-

umented failure to solve 340B duplication problems itself. See supra at 14–17. And for Medicare

Part D inflation rebates, manufacturers have only CMS’s hollow assurance that it “plan[s] to ex-

plore” a solution to duplication problems someday. Medicare and Medicaid Programs, 89 Fed.

Reg. at 98,292–93.

       Thus, HHS has effectively thrown up its hands, leaving manufacturers to come up with

some way to realize the statutory prohibitions on duplicative price concessions. But now that Lilly

has done so, HRSA has tried to foreclose that solution, without even acknowledging the impossible

bind in which HHS agencies’ abdications have put manufacturers.

               2.         The Cash-Replenishment Model Would Make Statutory Guardrails
                          Meaningful.

       The story is similar as to the 340B statute’s audit and ADR procedures. Here, though, the

problem is apparent on the face of the applicable statute and regulations. The product-replenish-

ment model denies Lilly access to information, locking Lilly out of the statute’s mechanisms for

addressing the very problems HHS has refused to help solve.

       If Lilly suspects a covered entity has unlawfully duplicated price concessions or diverted

340B-priced medicines, the first step under HRSA regulations is to establish “reasonable cause”

for an audit. Manufacturer Audit Guidelines and Dispute Resolution Process, 61 Fed. Reg. 65,406,

65,410 (Dec. 12, 1996). In other words, Lilly needs some evidence that a covered entity caused a

suspected violation. Under the product-replenishment model, however, Lilly often lacks enough



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information to do so because covered entities (conveniently) need not ever provide enough infor-

mation for Lilly to get that far.

        As a result, Lilly’s efforts to ensure compliance often fail to launch. Without “sufficient

facts and evidence in support” of “reasonable cause,” there can be no audit. 61 Fed. Reg. at 65,410.

Without an audit, there can be no ADR claim against a covered entity. 42 U.S.C. § 256b(d)(3)(A);

42 C.F.R. § 10.21(a)(2). Without the ability to initiate audits or, if necessary, to bring ADR claims,

the 340B statute’s “provision of remedies and enforcement” for its anti-duplication and anti-diver-

sion requirements becomes a dead letter. Contra 42 U.S.C. § 256b(d)(3)(A).

        As if that consequence were not enough, the product-replenishment model’s opacity also

prevents Lilly from full participation in ADR proceedings initiated by others. When a covered

entity brings a claim that it has been overcharged, HRSA regulations allow it to request documents

or other information from a manufacturer. 42 C.F.R. § 10.22(a). A manufacturer has only 20

business days to respond, id. § 10.22(b), and it “is responsible for obtaining relevant information

or documents” from third parties, which may be outside its control, id. § 10.22(c). Thus, manu-

facturers operate from a doubly disadvantaged position regarding the ADR process. They are

denied information they need to pursue their own claims, and they are saddled with an obligation

to get information that is not necessarily within their grasp.

        Again, the cash-replenishment model’s transparency would bridge those gaps. By timely

centralizing claims data and confirming the bases for covered entities’ requests for the 340B price,

the cash-replenishment model enables all parties to vindicate their rights by using the statute’s

audit and ADR processes effectively. That result would not only be fairer by virtue of ensuring

that price concessions are correctly paid; it would also accomplish Congress’s design by




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effectuating its repeated prohibitions against duplication and making the statutory dispute-resolu-

tion mechanisms meaningful.17

       As the statutes’ repeated emphases on anti-duplication and dispute resolution make clear,

see 42 U.S.C. § 256b(a)(5); id. § 256b(d)(3)(A); id. § 1395w-114b(b)(1)(B), the proper function-

ing of those processes is a statutorily mandated “salient factor” that HRSA had to consider. See

Humane Soc’y of the U.S. v. Zinke, 865 F.3d 585, 607 (D.C. Cir. 2017). Yet HRSA, again, made

no mention of this in its letters purporting to stop manufacturers from implementing programs that

would have furthered those statutory objectives. See AR 202–03, 292–94, 424–25. Because

HRSA has refused to acknowledge these issues, it has fallen far short of “prov[ing]” that it has

“considered the relevant priorities.” Stewart, 313 F. Supp. 3d at 259 (quotation omitted). Like-

wise, HRSA has failed to “respond meaningfully” to Lilly’s legitimate objections on these

grounds. See PPL Wallingford Energy LLC v. FERC, 419 F.3d 1194, 1198 (D.C. Cir. 2005) (quo-

tation omitted); see also AR 295, 298 (Lilly’s raising to HRSA the anti-duplication, audit, and

ADR rationales for the cash-replenishment model). For both reasons, HRSA’s decision is arbitrary

and capricious.

       D.      HRSA’s Position Defies Common Sense.

       Finally, HRSA’s position simply runs counter to common sense. The agency has attempted

to thwart a system with undeniable policy benefits—a system that would fix several of the 340B


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   The cash-replenishment model would also eliminate the current practice of commingling 340B
and non-340B inventory. The accounting fiction in which units purchased at a 340B price are
treated as “neutral inventory” that can “be dispensed to any subsequent patient,” see ECF No. 1-2
(Pedley Decl.) ¶ 11; see also AR 300, flagrantly violates the 340B statute’s direction not to “resell
or otherwise transfer [a] drug” purchased at the 340B price “to a person who is not a [340B] pa-
tient.” See 42 U.S.C. § 256b(a)(5)(B). The cash-replenishment model would end that shell game
because medicine would clearly and permanently be identified as either subject to 340B compli-
ance obligations, or not. That transparency will enable all parties—including HRSA—to fulfill
their statutory responsibilities.



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program’s most serious shortcomings, benefiting all stakeholders. The APA does not permit an

agency to spurn good governance, particularly without an explanation.

       Agencies may not act “in defiance of common sense to reach an illogical result.” Ever-

green Shipping Agency (Am.) Corp. v. Federal Mar. Comm’n, 106 F.4th 1113, 1117–18 (D.C. Cir.

2024). Agencies’ decisionmaking processes must therefore be rational and discernable, Tripoli

Rocketry Ass’n v. ATF, 437 F.3d 75, 77 (D.C. Cir. 2006), and an agency cannot “ignore an obvious

fact,” Grayscale Invs., 82 F.4th at 1248 (quotation omitted and alteration adopted). Nor should an

agency act for “reasons not mentioned in the regulations.” See Menkes v. DHS, 486 F.3d 1307,

1313 (D.C. Cir. 2007).

       HRSA violated those principles by closing its eyes to the various programmatic benefits

the cash-replenishment model offers over the product-replenishment model—including for cov-

ered entities. The cash-replenishment model will help all stakeholders by using state-of-the art

technology to generate and share data that will enable informed decision-making. It will stream-

line the cash flow by delivering money directly to covered entities, rather than third-party admin-

istrators and contract pharmacies. And Lilly expects to be able to pay rebates to covered entities

weekly. AR 296. That means covered entities will often receive rebates before they must pay

wholesalers for a purchase, likely improving their cash flow compared to the current full-package

requirement. AR 297; see also Cash Flow Analysis, supra, at 15–16 (identifying benefits to cov-

ered entities including faster receipt of revenue, “lower inventory carrying costs,” and pricing ad-

vantages). In short, the cash-replenishment model is more compliant, more efficient, more trans-

parent, and faster than the product-replenishment model.

       HRSA did not identify any harms that could offset those benefits. Once again, it simply

did not evaluate those benefits at all. See AR 202–03, 292–94, 424–25. Instead, HRSA has offered




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a non sequitur: It complained to Johnson & Johnson that the cash-replenishment model is suppos-

edly unlawful because it is “not voluntary for covered entities,” in contrast to the product-replen-

ishment model, which covered entities created on their own authority. AR 203. But neither the

statute nor HRSA’s regulations says anything about covered entities getting to choose exactly how

they receive the 340B ceiling price. See 42 U.S.C. § 256b(a)(1) (providing for either “rebate[s] or

discount[s]”). And by that logic, HRSA should not permit use of the product-replenishment model,

which is “not voluntary” for manufacturers. HRSA may not privilege that biased, made-up justi-

fication over the many statute- and regulation-based justifications for the cash-replenishment

model—especially without bothering to address the latter. See Menkes, 486 F.3d at 1313; Gray-

scale Invs., 82 F.4th at 1248.

       Nor would the cash-replenishment model create offsetting harms that HRSA neglected to

mention. Critically, Lilly would not use the cash-replenishment model to deny any covered entities

access to 340B prices. AR 299. Lilly would instead use the claims data generated by the cash-

replenishment model to work with state Medicaid programs to resolve duplicate Medicaid Drug

Rebate Program rebates, id.; to participate in CMS’s process for correcting erroneous IRA infla-

tion-rebate calculations, see Medicare and Medicaid Programs, 89 Fed. Reg. at 98,598; and, as

needed, to initiate audits and ADR proceedings as provided by the 340B statute, see id.

§ 256b(d)(3)(A). Put differently, the cash-replenishment model would strengthen existing legal

processes without posing new risks to covered entities or imposing further costs on them. It is

hard to imagine a more illogical result than rejecting those improvements in favor of a status quo

that is slow, bloated, opaque, unfair, and honeycombed with fraud, waste and abuse. HRSA’s

decision—and its lack of explanation for that decision—thus violate the APA and should be va-

cated. See, e.g., Evergreen Shipping Agency, 106 F.4th at 1118.




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                                      CONCLUSION

       For the foregoing reasons, Lilly’s motion for summary judgment should be granted.

Dated: February 3, 2025                       Respectfully submitted,


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